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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ZAVALA LICENSING LLC,                 §
                                      §
      Plaintiff,                      §                    Case No: 2:18-cv-545-JRG
                                      §
vs.                                   §                    PATENT CASE
                                      §
SAMSUNG ELECTRONICS AMERICA,          §                    JURY TRIAL DEMANDED
INC.                                  §
                                      §
      Defendant.                      §
_____________________________________ §


                                             ORDER
   .
        Before the Court is the Joint Motion to Dismiss Under Fed. R. Civ. P. 41(a)(2). (Dkt.

 No. 7.) Having considered the Joint Motion, the Court finds that the Motion should

 be and hereby is GRANTED. Accordingly, it is ORDERED that Plaintiff’s claims against

 Defendant Samsung Electronics America Inc. are DISMISSED WITH PREJUDICE. It is

 further ORDERED that each party is to bear its own attorneys’ fees and costs. The Clerk is

 directed to CLOSE the above-captioned case.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 26th day of February, 2019.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE
